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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
______________________________
                                )
IN DEFENSE OF ANIMALS,          )
                                )
     Plaintiff,                 )
                                )
     v.                         )   Civil Action No. 02-557 (RWR)
                                )
UNITED STATES DEPARTMENT        )
OF AGRICULTURE, et. al.,        )
                                )
     Defendants.                )
______________________________ )

                           FINAL JUDGMENT

     For the reasons stated in the accompanying Memorandum

Opinion, it is hereby

     ORDERED that judgment be, and hereby is, ENTERED for the

plaintiff on its FOIA claim.     It is further

     ORDERED that within sixty days of this judgment, the USDA

shall provide the plaintiff with all information that has been

withheld under Exemption 4 and that remains at issue except for

those specific portions of the records that reveal

     (1)   test protocols and protocol amendments;

     (2)   the express identification of any compound, product, or

           pharmacological class of compounds;

     (3)   the identity of any customer of HLS;

     (4)   Standard Operating Procedures, but not discussions,

           notations, comments, or other references concerning

           such procedures that bear in any fashion on animal

           treatment or condition or any concerns expressed by
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                                  -2-

            USDA on alleged legal violations, including but not

            limited to alleged AWA and Good Laboratory Practice

            violations;

     (5)    animal tracking and assessment records; or

     (6)    dosing charts.

     The fact that a particular page may contain one of the

foregoing items is not a basis on which the entire page may be

withheld.    Rather, only the specific information that falls

within these categories may be deleted from the records.

Accordingly, whenever any of these items is deleted from a

document, the document shall include in each specific portion a

code that correlates to the nature of the material withheld,

e.g., “T” for test protocols, “C” for compound identity, “D” for

dosing charts, “I” for customer identity, and so forth.         Along

with the documents, the USDA shall furnish the plaintiff with a

clear explanation of the code and how it has been applied to the

materials.

     SIGNED this 18th day of September, 2009.


                                ________/s/_________________
                                RICHARD W. ROBERTS
                                United States District Judge
